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APPEAL,TERMED

US. District Court - District of Colorado
District of Colorado (Denver)
CRIMINAL DOCKET FOR CASE #: 1:15-cr-00200-REB-1

Case title: USA v. Shields

Assigned to: Judge Robert E. Blackburn
Appeals court case number: 18-1364 USCA

Defendant (1)

Shawn Shields
TERMINATED: 09/10/2018

https://ecf.cod.uscourts.gow/cgi-bin/DktRpt.p?851993813746007-L_1_0-1

Date Filed: 05/05/2015
Date Terminated: 09/10/2018

represented by Philip Louis Dubois

Philip L. Dubois, P.C.

102 East Pikes Peak Avenue
#306

Colorado Springs, CO 80903
719-635-4848

Fax: 719-635-2222

Email: dubois@dubois.com
TERMINATED: 08/24/2017
LEAD ATTORNEY
Designation: CJA Appointment

Robert William Pepin

Office of the Federal Public Defender-
Denver

633 Seventeenth Street

Suite 1000

Denver, CO 80202

303-294-7002

Fax: 303-294-1192

Email: Robert_Pepin@fd.org
TERMINATED: 10/19/2015
LEAD ATTORNEY

Designation: Public Defender or
Community Defender Appointment

Abraham V. Hutt

Recht & Kornfeld, P.C.

1600 Stout Street

Suite 1400

Denver, CO 80202
303-573-1900

Fax: 303-446-9400

Email: abe@rklawpc.com
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

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10/9/2018

Pending Counts

18:1791{a)(2) Possessing Contraband in
Prison

(1)

Highest Offense Level (Opening),
Felony

Terminated Counts

None

Highest Offense Level (Terminated)
None

Complaints

None

Plaintiff
USA

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?851993813746007-L_1 _0-4

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David Matthew Beller

Recht & Kornfeld, P.C.

1600 Stout Street

Suite 1400

Denver, CO 80202
303-573-1900

Fax: 303-446-9400

Email: david@rechtkornfeld.com
ATTORNEY TO BE NOTICED
Designation: CIA Appointment

Disposition

Imprisonment: 37 months. Supervised.
release: three years, to be served
consecutively to any present state or federal
sentence. Special assessment: $100.

Disposition

Disposition

represented by Celeste Brianne Rangel

US. Attorney's Office-Denver

1801 California Street

Suite 1600

Denver, CO 80202

303-454-0206

Fax: 303-454-0403

Email: celeste.rangel@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Federal Agency Attorney

Clay C. Cook

U.S. Attorney's Office-Denver
1801 California Street

Suite 1600

Denver, CO 80202
303-454-0100

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Fax: 303-454-0400

Email: c2cook@bop.gov

ATTORNEY TO BE NOTICED
Designation: Federal Agency Attorney

Valeria Neale Spencer

U.S. Attorney's Office-Denver

1801 California Street

Suite 1600

Denver, CO 80202

303-454-0100

Fax: 303-454-0402

Email: Valeria.Spencer@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Federal Agency Attorney

 

Date Filed

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Docket Text

 

05/05/2015

G

INDICTMENT as to Shawn Shields (1) count(s) 1. (Attachments: # 1 Criminal
Information Sheet) (alowe) (Entered: 05/06/2015)

 

05/05/2015

RESTRICTED DOCUMENT - Level 4: as to Shawn Shields. (alowe) (Entered:
05/06/2015)

 

05/06/2015

I

Arrest Warrant Issued in case as to Shawn Shieids. (alowe) (Entered: 05/06/2015)

 

05/18/2015

Arrest of Shawn Shields, Initial Appearance set for 5/18/2015 02:00 PM in Courtroom A
502 before Magistrate Judge Michael J. Watanabe. (Text Only entry)(morti, ) (Entered:
05/18/2015)

 

05/18/2015

MINUTE ENTRY/ORDER for proceedings held before Magistrate Judge Michael J.
Watanabe: Initial Appearance as to Shawn Shields held on 5/18/2015. Defendant present
in custody. Defendant advised. Federal Public Defender appointed. Arraignment /
Detention Hearing / Discovery Hearing set for 5/21/2015 10:00 AM in Courtroom A 502
before Magistrate Judge Michael J. Watanabe. Defendant remanded. (Total time: 4
minutes, Hearing time: 2:01 - 2:05) APPEARANCES: Beth N. Gibson on behalf of the
Government, Angela Ledesma on behalf of pretrial. Court Reporter: FTR - E. E. Miller.
FTR: Courtroom A502, (emill) Text Only Entry (Entered: 05/18/2015)

 

05/18/2015

ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Shawn Shields, by
Magistrate Judge Michael J. Watanabe on 5/18/2015. Text Only Entry (emill) (Entered:
05/18/2015)

 

05/18/2015

CJA 23 Financial Affidavit by Shawn Shields. (emill) (Entered: 05/ 18/2015)

 

05/19/2015

[oo

NOTICE OF ATTORNEY APPEARANCE: Robert William Pepin appearing for Shawn
Shields. Attorney Robert William Pepin added to party Shawn Shields(pty:dit) (Pepin,
Robert) (Entered: 05/19/2015)

 

05/21/2015

 

 

 

MINUTE ENTRY/ORDER for proceedings held before Magistrate Judge Michael J.
Watanabe: Arraignment / Discovery Hearing / Detention Hearing as to Shawn Shields
held on 5/21/2015. Defendant present in custody with counsel. Plea of NOT GUILTY as
to all counts entered by defendant. Discovery memorandum executed. Defendant is not
contesting detention. On or before 5/28/2015, Pretrial Services shall provide defendant's
criminal history to both counsel. Defendant detained without bond. Counsel is directed to
chambers. Defendant remanded, (Total time: 8 minutes, Hearing time: 10:00 - 10:08)
APPEARANCES: Clay C. Cook on behalf of the Government, Robert W. Pepin on

 

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behalf of the defendant, Michele Sinaka on behalf of pretrial. Court Reporter: FTR - E. E.
Miller. FTR: Courtroom A502. (emill) Text Only Entry (Entered: 05/21/2015)

 

05/21/2015

Discovery Conference Memorandum and ORDER: Estimated Trial Time - 5 or less days
as to Shawn Shields, by Magistrate Judge Michael J. Watanabe on 5/21/2015. (emill)
(Entered: 05/21/2015)

 

05/21/2015

ORDER OF DETENTION as to Shawn Shields, by Magistrate Judge Michael J.
Watanabe on 5/21/2015. (emill) (Entered: 05/21/2015)

 

05/22/2015

TRIAL PREPARATION CONFERENCE ORDER as to Shawn Shields by Judge Robert
E. Blackburn on 5/21/15. Motions are due by 6/5/2015. A Telephone Conference is set
for 6/23/2015 10:00 AM before Judge Robert E. Blackburn. A Trial Preparation
Conference is set for 7/10/2015 at 02:30 PM in Courtroom A1001 before Judge Robert E.
Blackbur, and a Jury Trial is set for 7/20/2015 08:30 AM in Courtroom A1001 before
Judge Robert E. Blackburn, (dkals, ) (Entered: 05/22/2015)

 

03/27/2015

RESTRICTED BAIL REPORT - Level 4 as to Shawn Shields. (dkals, ) (Entered:
05/27/2015)

 

06/05/2015

MOTION to Vacate Trial Date and Schedule Status Conference by Shawn Shields.
(Pepin, Robert) (Entered: 06/05/2015)

 

06/17/2015

RESPONSE to Motion by USA as to Shawn Shields re 14 MOTION to Vacate Trial Date
and Schedule Status Conference (Cook, Clay) (Entered: 06/ 17/2015)

 

06/18/2015

MINUTE ORDER as to Shawn Shields Motion Hearing set for 7/9/2015 09:00 AM
before Judge Robert E. Blackburn. By Judge Robert E. Blackburn on 6/18/2015. (mlace, )
(Entered: 06/18/2015)

 

07/09/2015

MINUTE ENTRY for Motion Hearing held before Judge Robert E. Blackburn as to
Shawn Shields on 7/9/2015, Granting 14 Motion to Vacate as to Shawn Shields (1). The
time from and including July 9, 2015, through and includingOctober 9, 2015, shall be
excluded from speedy trial. A Status Conference is set for 10/2/2015 10:00 AM in
Courtroom A1001 before Judge Robert E. Blackburn. Defendant remanded. Hearing
concluded. Court Reporter: Tracy Weir. (kfinn) (Entered: 07/09/201 5)

 

10/02/2015

MINUTE ENTRY for Status Conference held before Judge Robert E. Blackburn as to
Shawn Shields on 10/2/2015. The time from October 9, 2015 through and including
December 11, 2015 is excluded from the time for a speedy trial. A further Status
Conference is set for 12/11/2015 01:15 PM in Courtroom A1001 before Judge Robert E.
Blackburn. Defendant remanded. Hearing concluded. Court Reporter: Tracy Weir. (kfinn)
(Entered: 10/02/2015)

 

10/15/2015

MOTION to Withdraw as Attorney and for Appointment of Conflict Free Counsel from
CJA Panel by Robert W. Pepin by Shawn Shields. (Pepin, Robert) (Entered: 10/15/2015)

 

10/15/2015

MEMORANDUM regarding 19 MOTION to Withdraw as Attorney and for Appointment
of Conflict Free Counsel from CJA Panel by Robert W. Pepin filed by Shawn Shields.
Motion referred to Magistrate Judge Kathleen M. Tafoya. By Judge Robert E. Blackburn
on 10/15/15. Text Only Entry (rebsec) (Entered: 10/1 5/2015)

 

10/19/2015

ORDER; 19 Motion to Withdraw as Counsel and for Appointment of Conflict Free
Counsel from CJA Panel is GRANTED. Robert William Pepin withdrawn from case as to
Shawn Shields. The Clerk of the Court is ordered to obtain counsel for the defendant
from the Criminal Justice Act panel, by Magistrate Judge Kathleen M. Tafoya on
10/19/15. (morti, } (Entered: 10/20/2015)

 

 

10/21/2015

 

22

 

CJA 20/30 Appointment of Philip L. Dubois for Shawn Shields by Magistrate Judge

 

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Kathleen M. Tafoya on 10/21/2015, (shugh) (Entered: 10/21/2015)

11/02/2015 23 | CJA 21/31 Request for Service as to Shawn Shields. (Attachments: # 1 CJA Attachment)
(Dubois, Philip) (Entered: 11/02/2015)

11/03/2015 24 | CJA 21/31 Request for Service as to Shawn Shields. (Attachments: # 1 CJA Attachment)
(Dubois, Philip) (Entered: 11/03/2015)

11/06/2015 25 | CYA 21/31 Request for Service as to Shawn Shields. (Attachments: # 1 CJA Attachment)
(Dubois, Philip) (Entered: 11/06/2015)

11/12/2015 26 | CJA 21/31 Authorization for Service as to Shawn Shields by Judge Robert E. Blackburn
on 11/12/2015. (shugh) (Entered: 11/13/2015)

12/10/2015 27 | Unopposed MOTION to Exclude Time by Shawn Shields. (Dubois, Philip) (Entered:
12/10/2015)

12/11/2015 28 | MINUTE ENTRY for Status Conference held before Judge Robert E. Blackburn as to
Shawn Shields on 12/11/2015. Granting 27 Motion to Exclude as to Shawn Shields (1).
The time from today through and including April 25, 2016 is excluded from the time for
a speedy trial. Status Conference set for 4/15/2016 01:15 PM in Courtroom A1001 before
Judge Robert E. Blackburn. Defendant remanded. Hearing concluded. Court Reporter:
Terri Lindblom. (kfinn) (Entered: 12/11/2015)

04/15/2016 29 | MINUTE ENTRY for Status Conference held before Judge Robert E. Blackburn as to
Shawn Shields on 4/15/2016. The time from April 25, 2016 through and including
August 1, 2016, is excluded from the time for a speedy trial. Any non-CJA pretrial
motions shall be filed by July 21, 2016; any response shalt be filed within 14 days of the
filing of the related and corresponding motion. Status Conference set for 7/28/2016 01:15
PM in Courtroom A1001 before Judge Robert E. Blackburn. Defendant remanded.
Hearing concluded. Court Reporter: Tracy Weir. (kfinn) (Entered: 04/15/2016)

05/06/2016 30 | CJA 21/31 Payment Request as to Shawn Shields. (Attachments: # 1 CJA Attachment)
(Dubois, Philip) (Entered: 05/06/2016)

07/20/2016 31 ; MOTION for Extension of Time to File Motions by Shawn Shields. (Attachments: # 1
Proposed Order (PDF Only))(Dubois, Philip) (Entered: 07/20/2016)

07/28/2016 32 | MINUTE ENTRY for Status Conference held before Judge Robert E. Blackburn as to
Shawn Shields on 7/28/2016. Granting 31 Motion for Extension of Time to File as to
Shawn Shields (1). The time from August 1, 2016 through and including September 30,
2016, is excluded from the time for a speedy trial. Any non-CJA pretrial motions shall be
filed by September 15, 2016; any corresponding response shall be filed by October 5,
2016. Status Conference set for 9/27/2016 01:30 PM in Courtroom A1001 before Judge
Robert E, Blackburn. Defendant remanded. Hearing concluded. Court Reporter: Tracy
Weir. (kfinn) (Entered: 07/29/2016)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

09/26/2016 33 | MOTION for Extension of Time to File Motions Out of Time by Shawn Shields. (Dubois,
Philip) (Entered: 09/26/2016)

09/26/2016 MOTION for Disclosure by Shawn Shields, (Dubois, Philip) (Entered: 09/26/2016)

09/26/2016 MOTION to Suppress Evidence by Shawn Shields. (Dubois, Philip) (Entered:
09/26/2016)

09/27/2016 36 | MINUTE ENTRY for Status Conference held before Judge Robert E. Blackburn as to

Shawn Shields on 9/27/2016. Granting 33 Motion for Extension of Time to File as to
Shawn Shields (1), The response of the government to any corresponding non-CJA
pretrial motion shail be filed by October 17, 2016; and any reply by the defendant shall

 

 

 

 

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be filed by October 31, 2016. Defendant remanded. Hearing concluded. Court Reporter:
Tracy Weir. (kfinn) (Entered: 09/28/2016)

 

10/17/2016

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RESPONSE to Motion by USA as to Shawn Shields re 34 MOTION for Disclosure
(Cook, Clay) (Entered: 10/17/2016)

 

10/17/2016

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RESPONSE to Motion by USA as to Shawn Shields re 35 MOTION to Suppress
Evidence (Cook, Clay) (Entered: 10/17/2016)

 

10/26/2016

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Ko

SUPPLEMENT to 37 Response to Motion by USA as to Shawn Shields (Cook, Clay)
(Entered: 10/26/2016)

 

02/01/2017

Is

NOTICE of Change of Address/Contact Information (Rangel, Celeste) (Entered:
02/01/2017)

 

02/27/2017

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MINUTE ORDER as to Shawn Shields re 34 MOTION for Disclosure filed by Shawn
Shields, 35 MOTION to Suppress Evidence filed by Shawn Shields by Judge Robert E.
Blackburn on 2/27/17. Telephone Conference to 303-335-2350 set for 3/8/2017 at 10:00
AM to set the motions for hearing. (rebsec) (Entered: 02/27/2017)

 

03/01/2017

MOTION to Continue Conference by Shawn Shields. (Attachments: # 1 Proposed Order
(PDF Only) Order Resetting Conference)(Dubois, Philip) (Entered: 03/01/2017}

 

03/02/2017

MINUTE ORDER granting 42 Motion to Continue as to Shawn Shields (1) by J udge
Robert E. Blackburn on 3/2/17. Telephone Conference to 303-335-230 on 3/8/17 vacated
and reset to 3/16/2017 at 10:00 AM to set motions hearing. (rebsec) (Entered:
03/02/2017)

 

03/22/2017

IE

MINUTE ORDER Setting Hearing on Motion as to Shawn Shields. 34 MOTION for
Disclosure , 35 MOTION to Suppress Evidence : Motion Hearing set for 6/22/2017 09:00
AM in Courtroom A1001 before Judge Robert E. Blackburn. By Judge Robert E.
Blackburn on 03/22/2017. (athom, ) (Entered: 03/22/2017)

 

06/16/2017

ERRATA to 38 Response to Motion by USA as to Shawn Shields (Attachments: # 1
Exhibit 1)(Cook, Clay) (Entered: 06/16/2017)

 

06/16/2017

46 | NOTICE OF ATTORNEY APPEARANCE Valeria Neale Spencer appearing for USA.

Attorney Valeria Neale Spencer added to party USA(pty:pla) (Spencer, Valeria) (Entered:
06/16/2017)

 

06/16/2017

MOTION for Hearing - Separate Hearings by Shawn Shields. (Dubois, Philip) (Entered:
06/16/2017)

 

06/22/2017

MINUTE ENTRY for proceedings held before Judge Robert E. Blackbum: Evidentiary
(Suppression) Hearing as to Shawn Shields held on 6/22/2017. Taking under advisement
34 Motion for Disclosure as to Shawn Shields (1). Taking under advisement 35 Motion to
Suppress as to Shawn Shields (1). Denying 47 Motion for Hearing as to Shawn Shields
(1). Defendant is remanded. Court Reporter: Tracy Weir. (Attachments: # 1 Government
Witness List, # 2 Government Exhibit List) (rkeec) (Entered: 06/22/2017)

 

06/28/2017

STRICKEN - Letter filed pro se re: 48 Motion Hearing by Shawn Shields. (Attachments:
# 1 Envelope) (athom, ) Modified "stricken" per Order on 7/10/2017 (rebsec). (Entered:
06/29/2017)

 

 

07/10/2017

 

30

 

MINUTE ORDER striking 49 Motion for Order as to Shawn Shields (1). When a party is
represented by counsel, as here, this court will not accept pro se filings from that party.
Such a pro se filing is improper. See United States v. Sandoval-De Lao, 283 Fed. Appx.
621, 625 (10th Cir, June 30, 2008); United States v. Nichols, 374 F.3d 959, 964 n.2 (10th
Cir. 2004) (citing United States v. Guadalupe, 979 F.2d 790, 795 (10th Cir, 1992)),

 

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vacated on other grounds, 125 S.Ct 1082 (2005). All pleadings and papers must be filed
by counsel. By Judge Robert E. Blackburn on 7/10/17. Text Only Entry (tebsec)
(Entered: 07/10/2017)

 

07/20/2017

ORDER as to Shawn Shields. Defendant Shawn Shields's Motion for Disclosure [# 34 ]
is denied in part and denied as moot in part. The motion is denied with respect to the
discovery described in paragraphs 2.a., 2.b., 2.c., and 2.g of the motion and in all other
respects, the motion is denied as moot. Mr. Shields's Motion To Suppress Evidence [# 35
] is denied. By Judge Robert E. Blackburn on 07/20/2017. (athom, ) (Entered:
07/20/2017)

 

07/24/2017

MOTION for Protective Order Opposed by USA as to Shawn Shields. (Attachments: # |
Proposed Order (PDF Only))(Spencer, Valeria) (Entered: 07/24/2017)

 

07/25/2017

MINUTE ORDER as to Shawn Shields re 52 MOTION for Protective Order Opposed
filed by USA. The defendant shall respond on or before 8/7/2017. By Judge Robert E.
Blackburn on 7/25/17. Text Only Entry (rebsec) (Entered: 07/25/2017)

 

08/03/2017

MOTION to Withdraw as Attorney for Mr. Shields by Philip L. Dubois by Shawn
Shields. (Dubois, Philip) (Entered: 08/03/2017)

 

08/07/2017

RESPONSE to Motion by Shawn Shields re 52 MOTION for Protective Order Opposed
(Dubois, Philip) (Entered: 08/07/2017)

 

08/08/2017

MINUTE ORDER as to Shawn Shields re 54 MOTION to Withdraw as Attorney for Mr.
Shields by Philip L. Dubois filed by Shawn Shields. A Telephonic (non-appearance)
Setting Conference is set 8/10/2017 at 11:30 AM to set this matter for hearing. Counsel
for the government shall arrange, initiate, and coordinate the conference call to chambers
at 303-335-2350 to facilitate the setting conference. By Judge Robert E. Blackburn on
8/8/17. Text Only Entry (rebsec) (Entered: 08/08/2017)

 

08/10/2017

57

MINUTE ORDER as to Shawn Shields. On 8/10/17, the court conducted a telephone
setting conference to set the 54 MOTION to Withdraw as Attorney for Mr. Shields by
Philip L. Dubois filed by Shawn Shields for hearing. After conferring with counsel, and
by agreement of all, the Motion Hearing is set for 8/24/2017 at 10:00 AM in Courtroom
A1001 before Judge Robert E. Blackburn. The United States Marshal for the District of
Colorado shall assist the court in securing the appearance of the defendant for this
hearing. By Judge Robert E. Blackburn on 8/10/17. Text Only Entry (rebsec) (Entered:
08/10/2017)

 

08/24/2017

MINUTE ENTRY for motion hearing held before Judge Robert E. Blackburn granting 54
Motion to Withdraw as Attorney. Philip L. Dubois withdrawn from case as to Shawn
Shields (1). Court Reporter: Tracy Weir. (robe) (Entered: 08/25/2017)

 

08/24/2017

ORDER APPOINTING COUNSEL as to Shawn Shields by Judge Robert E. Blackburn
on 8/24/17, Text Only Entry (lrobe) (Entered: 08/25/2017)

 

08/29/2017

60 | NOTICE OF ATTORNEY APPEARANCE: Abraham V. Hutt appearing for Shawn

ShieldsAttorney Abraham V. Hutt added to party Shawn Shields(pty:dft) (Hutt, Abraham)
(Entered: 08/29/2017)

 

08/29/2017

61

ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
RULES/PROCEDURES: re: 60 Notice of Attorney Appearance - Defendant filed by
attorney Abraham V. Hutt. DO NOT REFILE THE DOCUMENT. Action to take -
counsel must submit a change of contact request through the Attorney Services Portal
Account pursuant to D.C.COLO.LAttyR 5(c) and 3.5 of the Electronic Case Filing
Procedures (Criminal Cases). (Text Only Entry) (athom, ) (Entered: 08/29/2017)

 

 

08/30/2017

 

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MINUTE ORDER as to Shawn Shields by Judge Robert E. Blackburn on 08/30/2017.

 

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Telephone (non-appearance) Setting Conference set for 8/31/2017 at 11:00 AM to set this
matter for a status and setting conference. (athom, ) (Entered: 08/30/2017)

 

08/31/2017

63

MINUTE ORDER as to Shawn Shields. Today, the court conducted a telephonic
conference to set this matter for status and setting conference. After conferring with
counsel, and by agreement of all, a Status/Setting Conference (to set trial and trial
preparation conference) is set for 10/18/2017 at 10:00 AM in Courtroom A1001 before
Judge Robert E. Blackburn. By Judge Robert E. Blackburn on 8/31/17. Text Only Entry
(rebsec) (Entered: 08/31/2017)

 

09/01/2017

PROTECTIVE ORDER as to Shawn Shields. The Government's Opposed Motion for
Protective Order [# 52 ] is granted. The objections stated in the Objections to Proposed
Protective Order [# 55 ] are overruled. By Judge Robert E. Blackburn on 09/01/2017.
(athom, ) (Entered: 09/01/2017)

 

09/07/2017

ORDER Excluding Additional Time Under the Speedy Trial Act (18 U.S.C. § 3161(h)(7)
(A)) as to Shawn Shields. An additional 41 days from and including 9/7/2017, through
and including 10/18/2017, shall be excluded under 18 U.S.C. § 3161(h)(7)(A) from the
time for a speedy trial under the Speedy Trial Act of 1974. Any party that objects to the
foregoing findings, conclusions, or orders shall file its objections by 9/28/2017, or any
objection shall be waived. By Judge Robert E. Blackburn on 09/07/2017. (athom, )
(Entered: 09/07/2017)

 

09/28/2017

MOTION for Extension of Time to File Speedy Trial Objection by Shawn Shields. (Hutt,
Abraham) (Entered: 09/28/2017)

 

09/29/2017

67

MINUTE ORDER granting 66 Motion for Extension of Time to File Speedy Trial
Objection to and including October 6, 2017 as to Shawn Shields (1).By Judge Robert E.
Blackbur on 9/29/17. Text Only Entry (rebsec) (Entered: 09/29/2017)

 

09/29/2017

NOTICE of No Speedy Trial Objection re 65 Order,, by Shawn Shields (Hutt, Abraham)
(Entered: 09/29/2017)

 

10/06/2017

Unopposed MOTION for Order To Appear by Videoconference by USA as to Shawn
Shields. (Spencer, Valeria) (Entered: 10/06/2017)

 

10/10/2017

70

MINUTE ORDER granting 69 Motion for Order as to Shawn Shields (1). Government
shall make the necessary arrangements with the court's IT department for the
videoconference. By Judge Robert E. Blackbum on 10/10/17. Text Only Entry (rebsec)
(Entered: 10/10/2017)

 

10/18/2017

MINUTE ENTRY for Status Conference as to Shawn Shields held before Judge Robert
E. Blackbur on 10/18/2017. ORDERED: That the defendant may file a motion seeking
to exclude additional time for a speedy trial under the Speedy Trial Act by Monday,
October 23, 2017; further, that if no such motion is filed by October 23, 2017, then the
Court may exercise its discretion to set this matter for additional status conference or trial
and antecedent trial preparation conference in the time remaining for a speedy trial under
the Speedy Trial Act. Court Reporter: Tracy Weir. (lrobe) (Entered: 10/1 8/2017)

 

10/23/2017

Unopposed MOTION to Exclude 60 day ends of justice Exclusion by Shawn Shields.
(Hutt, Abraham) (Entered: 10/23/2017)

 

11/27/2017

73

MINUTE ORDER Setting Hearing on Motion as to Shawn Shields. 72 Unopposed
MOTION to Exclude 60 day ends of justice Exclusion : Motion Hearing set for
12/18/2017 at 11:00 AM in Courtroom A1001 before Judge Robert E. Blackburn. The
defendant shall appear by VTC. By Judge Robert E. Blackburn on 11/27/17. Text Only
Entry (rebsec) (Entered: 11/27/2017)

 

 

12/18/2017

 

14

 

 

COURTROOM MINUTES for Motion Hearing as to Shawn Shields held before Judge

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Robert E, Blackburn on 12/18/2017. ORDERED: 72 Motion to Exclude as to Shawn
Shields as amended on the record GRANTED and the time from and including October
23, 2017, through and including February 19, 2018, shall be excluded from the time for a
speedy trial under the Speedy Trial Act. Trial Preparation Conference set for 2/8/2018 at
11:00 AM in Courtroom A1001 before Judge Robert E. Blackburn. Four-day jury trial set
to begin 2/20/2018 at 8:30 AM in Courtroom A1001. Court Reporter: Tracy Weir. (lrobe)
(Entered: 12/18/2017)

01/24/2018 TRANSCRIPT of Motions Hearing as to Shawn Shields held on 6-22-17 before Judge
Blackburn. Pages: 1-81. <br><br> NOTICE - REDACTION OF TRANSCRIPTS:
Within seven calendar days of this filing, each party shall inform the Court, by filing
a Notice of Intent to Redact, of the party's intent to redact personal identifiers from
the electronic transcript of the court proceeding. If a Notice of Intent to Redact is

not filed within the allotted time, this transcript will be made electronically available
after 90 days. Please see the Notice of Electronic Availability of Transcripts
document at www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
court public terminal or purchased through the Court Reporter/Transcriber prior to the 90
day deadline for electronic posting on PACER. (tweir, ) (Entered: 01/24/201 8)

02/04/2018 76 | MOTION for Leave to File Motions out of Time by Shawn Shields. (Hutt, Abraham)
(Entered: 02/04/2018)

 

 

 

 

02/04/2018 MOTION to Dismiss BASED ON SELECTIVE PROSECUTION AND FOR DISCOVERY
IN SUPPORT OF THE MOTION by Shawn Shields. (Attachments: # 1 Exhibit A, #2
Exhibit B, # 3 Exhibit C)(Hutt, Abraham) (Entered: 02/04/2018)

02/04/2018 MOTION to Dismiss VIOLATION OF BUREAU OF PRISONS RULES by Shawn

Shields. (Attachments: # 1 Exhibit A)(Hutt, Abraham) (Entered: 02/04/201 8)

02/05/2018 79 | MINUTE ORDER as to Shawn Shields. Government shall file responses to 76 MOTION
for Leave to File Motions out of Time filed by Shawn Shields, 77 MOTION to Dismiss
BASED ON SELECTIVE PROSECUTION AND FOR DISCOVERY IN SUPPORT OF
THE MOTION filed by Shawn Shields, and 78 MOTION to Dismiss VIOLATION OF
BUREAU OF PRISONS RULES filed by Shawn Shields by 2/7/2018. By Judge Robert E.
Blackburn on 2/5/18. Text Only Entry (rebsec) (Entered: 02/05/2018)

RESPONSE to Motion by USA as to Shawn Shields re 76 MOTION for Leave to File
Motions out of Time (Spencer, Valeria) (Entered: 02/07/2018)

RESPONSE to Motion by USA as to Shawn Shields re 77 MOTION to Dismiss BASED
ON SELECTIVE PROSECUTION AND FOR DISCOVERY IN SUPPORT OF THE
MOTION (Spencer, Valeria) (Entered: 02/07/2018)

RESPONSE to Motion by USA as to Shawn Shields re 78 MOTION to Dismiss
VIOLATION OF BUREAU OF PRISONS RULES (Attachments: # 1 Exhibit One)
(Spencer, Valeria) (Entered: 02/07/2018)

Proposed Voir Dire by USA as to Shawn Shields (Spencer, Valeria) (Entered:
02/07/2018)

02/08/2018 84 | Petition for Writ of Habeas Corpus ad Testificandum by Shawn Shields (Attachments: # 1
Proposed Order (PDF Only))(Hutt, Abraham) Modified on 2/8/2018 to correct event
(athom, ). (Entered: 02/08/2018)

02/08/2018 85 | Petition for Writ of Habeas Corpus ad Testificandum by Shawn Shields (Attachments: # 1
Proposed Order (PDF Only))(Hutt, Abraham) Modified on 2/8/2018 to correct event
(athom, ), (Entered: 02/08/2018)

02/08/2018 86 | ORDER Prescribing Jury Selection Protocol as to Shawn Shields. By Judge Robert E.
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Blackburn on 02/08/2018. (Attachments: # 1 Jury Selection Protocol) (athom, ) (Entered:
02/08/2018)

 

02/08/2018

ORDER Approving Jury Questionnaire as to Shawn Shields. By Judge Robert E.
Blackburn on 02/08/2018. (Attachments: # 1 Jury Questionnaire) (athom, ) (Entered:
02/08/2018)

 

02/08/2018

COURTROOM MINUTES for Trial Preparation Conference held as to Shawn Shields
held before Judge Robert E. Blackburn on 2/8/2018. ORDERED: Defendant's replies to
Government's responses to 76 , 77 , and 78 due on or before 2/15/2018. Court Reporter:
Tracy Weir. (lrobe) (Entered: 02/09/2018)

 

02/09/2018

ORDER Denying Without Prejudice 84 Petition for Writ of Habeas Corpus ad
Testificandum for Vincent Basciano as to Shawn Shields. By Judge Robert E. Blackburn
on 02/09/2018. (athom, ) (Entered: 02/09/2018)

 

02/09/2018

ORDER on 85 Petition for Writ of Habeas Corpus ad Testificandum as to Shawn Shields.
By Judge Robert E. Blackburn on 02/09/2018. (athom, ) (Entered: 02/09/201 8)

 

02/09/2018

Writ of Habeas Corpus ad Testificandum Issued as to Donald Heisler in case as to Shawn
Shields. (Attachments: # 1 Marshal Service Form) (athom, ) (Entered: 02/09/201 8)

 

02/12/2018

MOTION for Leave to File Supplement to Petition for Writ of Habeas Corpus Ad
Testificandum for Vincent Basciano by Shawn Shields. (Hutt, Abraham) (Entered:
02/12/2018)

 

02/12/2018

93

MINUTE ORDER granting in part and taking under advisement 92 Motion for Leave to
File as to Shawn Shields (1). The motion is granted insofar as defendant tequests leave to
supplement his petition for writ of habeas corpus ad testificandum for Vincent Basciano.
The motion is taken under advisement insofar as defendant requests reconsideration of
the court's previous order [#88], filed February 9, 2018, denying the petition. By Judge
Robert E, Blackburn on 2/12/18. Text Only Entry (rebsec) (Entered: 02/ 12/2018)

 

02/12/2018

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Proposed Jury Instructions Stipulated by USA as to Shawn Shields (Spencer, Valeria)
(Entered: 02/12/2018)

 

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Proposed Jury Instructions Competing by USA as to Shawn Shields (Spencer, Valeria)
(Entered: 02/12/2018)

 

02/12/2018

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Proposed Jury Instructions Non-Stipulated by USA as to Shawn Shields (Spencer,
Valeria) (Entered: 02/12/2018)

 

02/12/2018

Proposed Verdict Form as to Shawn Shields (Spencer, Valeria) (Entered: 02/ 12/2018)

 

02/12/2018

Proposed Jury Instructions Competing by Shawn Shields (Hutt, Abraham) (Entered:
02/12/2018)

 

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Proposed Jury Instructions Non-Stipulated by Shawn Shields (Hutt, Abraham) (Entered:
02/12/2018)

 

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Proposed Voir Dire by Shawn Shields (Hutt, Abraham) (Entered: 02/12/201 8)

 

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TRIAL BRIEF by Shawn Shields (Hutt, Abraham) (Entered: 02/12/201 8)

 

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RESPONSE by USA as to Shawn Shields re: 99 Proposed Jury Instructions filed by
Shawn Shields, 98 Proposed Jury Instructions filed by Shawn Shields and Support of
Competing and Non-Stipulated Jury Instructions (Attachments: # 1 Exhibit One)(Cook,
Clay) (Entered: 02/13/2018)

 

 

02/13/2018

 

103

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ORDER as to Shawn Shields. IT IS ORDERED that the motion to reconsider my prior
order set forth in Mr. Shields's Request To File Supplement To Petition for Writ of

 

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Habeas Corpus Ad Testificandum for Vincent Basciano [# 92 ] is denied. By Judge
Robert E. Blackburn on 02/13/2018. (athom, ) (Entered: 02/13/2018)

02/13/2018 104 | ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
RULES/PROCEDURES: re: 98 Proposed Jury Instructions filed by attomey Abraham V.
Hutt, The document was scanned and not converted directly to portable document format
(PDF). DO NOT REFILE THE DOCUMENT. Action to take - future documents must
be filed pursuant to D.C.COLO.LCr49.1(a) and 1.3(f) of the Electronic Case Filing
Procedures (Criminal Cases). (Text Only Entry) (athom, ) (Entered: 02/ 13/2018)

02/15/2018 105 | REPLY TO RESPONSE to Motion by Shawn Shields re 77 MOTION to Dismiss BASED
ON SELECTIVE PROSECUTION AND FOR DISCOVERY IN SUPPORT OF THE
MOTION and Motion to Continue Trial (Hutt, Abraham) (Entered: 02/15/201 8)

02/15/2018 106 | US Marshal Return of Service upon the BOP re 90 Order as to Shawn Shields. {athom, )
(Entered: 02/15/2018)

 

 

 

 

 

 

 

 

02/16/2018 ORDER Denying 78 Motion to Dismiss: Violation of BOP Rules as to Shawn Shields.
By Judge Robert E. Blackburn on 02/16/2018. (athom, ) (Entered: 02/16/201 8)
02/16/2018 ] ORDER Denying 77 Motion to Dismiss Based on Selective Prosecution and for

 

Discovery in Support of the Motion as to Shawn Shields. By Judge Robert E. Blackburn
on 02/16/2018, (athom, ) (Entered: 02/16/2018)

NOTICE OF ATTORNEY APPEARANCE: David Matthew Beller appearing for Shawn
ShieldsAttorney David Matthew Beller added to party Shawn Shields(pty:dft) (Beller,
David) (Entered: 02/20/2018)

 

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02/20/2018 110 | COURTROOM MINUTES for Jury Trial - Day One as to Shawn Shields held before
Senior Judge Robert E, Blackburn on 2/20/2018. Defendant in custody. Trial continued.
Court Reporter: Tracy Weir. (lrobe) (Entered: 02/21/2018)

02/21/2018 111 | COURTROOM MINUTES for Jury Trial - Day Two as to Shawn Shields held before

Senior Judge Robert E. Blackburn on 2/21/2018. Defendant in custody. Trial continued.
Court Reporter: Tracy Weir. (Irobe) (Entered: 02/21/2018)

COURTROOM MINUTES for Jury Trial - Day Three as to Shawn Shields held before
Senior Judge Robert E. Blackburn on 2/22/2018. Jury Verdict: GUILTY on Count 1.
ORDERED: Lunches shall be provided to all jurors. This matter is set for sentencing
hearing on June 27, 2018, at 10:00 a.m., at which time the defendant shall appear without
further order or notice. Trial concluded. Defendant remanded. Court Reporter: Tracy
Weir. (Irobe) (Entered: 02/23/2018)

 

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02/22/2018 113 | STIPULATION AND ORDER GOVERNING THE CUSTODY AND DISPOSITION
OF TRIAL EXHIBITS, TRANSCRIPTS, AND PAPERS (Irobe) (Entered: 02/23/2018)

02/22/2018 114 | Jury Note as to Shawn Shields (lrobe) (Entered: 02/23/2018)

02/22/2018 115 | Jury Instructions as to Shawn Shields (Irobe) (Entered: 02/23/2018)

02/22/2018 116 | Jury Verdict (unredacted) - Level 4 - Viewable by Court Only (Irobe) (Entered:
02/23/2018)

02/22/2018 7 | JURY VERDICT as to Shawn Shields (Irobe) (Entered: 02/23/2018)

02/22/2018 119 | EXHIBIT LIST by Shawn Shields (robe) (Entered: 03/02/2018)

02/22/2018 120 | EXHIBIT LIST by USA as to Shawn Shields (Irobe) (Entered: 03/02/2018)

02/22/2018 121 | WITNESS LIST by USA as to Shawn Shields (lrobe) (Entered: 03/02/2018)

 

 

 

 

 

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10/9/2018

02/22/2018

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WITNESS LIST by Shawn Shields (robe) (Entered: 03/02/2018)

 

02/23/2018

CJA MOTION by Shawn Shields. (Hutt, Abraham) (Entered: 02/23/2018)

 

03/19/2018

SENTENCING STATEMENT by USA as to Shawn Shields (Spencer, Valeria) (Entered:
03/19/2018)

 

03/26/2018

WITHDRAWN - MOTION for Order to Appear by Video Conference by Shawn Shields.
(Hutt, Abraham) Modified on 6/28/2018 to with withdraw pursuant to 133 Minute Order
(athom, ). (Entered: 03/26/2018)

 

04/25/2018

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ORDER denying 118 CJA Motion as to Shawn Shields. By Judge Robert E. Blackburn
on 04/25/2018. (athom, } (Entered: 04/25/2018)

 

05/23/2018

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RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
Shawn Shields. (pmcdo) (Entered: 05/23/2018)

 

06/01/2018

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Unopposed MOTION to Continue Sentencing by USA as to Shawn Shields. (Cook, Clay)
(Entered: 06/01/2018)

 

06/05/2018

MINUTE ORDER granting 127 Motion to Continue as to Shawn Shields (1). The
sentencing hearing set 6/27/18 is vacated and reset pending further order of court. A
Telephonic (non-appearance) setting Conference is set for 6/6/2018 at 11:00 AM to reset
the sentencing hearing. Counsel for the government shall arrange, initiate, and coordinate
the conference call to chambers at 303-335-2350 to facilitate the setting conference. By
Robert E. Blackburn on 6/5/18. Text Only Entry (rebsec) (Entered: 06/05/2018)

 

06/06/2018

129

MINUTE ORDER as to Shawn Shields. After conferring with counsel, and by agreement
of all, Sentencing is set for 8/7/2018 at 11:00 AM in Courtroom A1001 before Judge
Robert E. Blackburn. By Judge Robert E. Blackburn on 6/6/18. Text Only Entry (rebsec)
(Entered: 06/06/2018)

 

06/06/2018

 

OBJECTION/RESPONSE to Presentence Report 126 by Shawn Shields (Hutt, Abraham)
(Entered: 06/06/2018)

 

06/12/2018

RESPONSE by USA as to Shawn Shields re: 130 Objection/Response to Presentence
Report filed by Shawn Shields (Cook, Clay) (Entered: 06/12/2018)

 

06/27/2018

MOTION to Withdraw Document 124 MOTION for Order to Appear by Video
Conference by Shawn Shields. (Hutt, Abraham) (Entered: 06/27/2018)

 

06/27/2018

MINUTE ORDER granting 132 Motion to Withdraw Document as to Shawn Shields (1)
and denying as moot 124 Motion for Order as to Shawn Shields (1). By Judge Robert E.
Blackburn on 6/27/18. Text Only Entry (rebsec) (Entered: 06/27/2018)

 

07/06/2018

134

MINUTE ORDER as to Shawn Shields. Due to a conflict on the court's calendar, the
sentencing hearing set 8/7/18 is vacated and reset pending further order of court. A
Telephonic (non-appearance) setting Conference is set for 7/9/2018 at 10:00 AM to reset
the sentencing hearing. Counsel for the government shall arrange, initiate, and coordinate
the conference call to chambers at 303-335-2350 to facilitate the setting conference. By
Judge Robert E. Blackburn on 7/6/18. Text Only Entry (rebsec) (Entered: 07/06/2018)

 

07/09/2018

135

MINUTE ORDER as to Shawn Shields. After conferring with counsel, and by agreement
of all, the Sentencing hearing is reset for 9/5/2018 at 02:30 PM in Courtroom A1001
before Judge Robert E. Blackburn. By Judge Robert E. Blackburn on 7/9/18. Text Only
Entry (rebsec) (Entered: 07/09/2018)

 

08/24/2018

136

Unopposed MOTION for Extension of Time to File Sentencing Motions by Shawn
Shields. (Hutt, Abraham) (Entered: 08/24/2018)

 

 

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08/24/2018 137 ) RESTRICTED PRESENTENCE REPORT as to Shawn Shields (Attachments: # 1
Exhibit A)(aarag, ) (Entered: 08/24/2018)

RESTRICTED ADDENDUM to Presentence Report 137 as to Shawn Shields (aarag, )
(Entered: 08/24/2018)

SENTENCING STATEMENT Supplemental by USA as to Shawn Shields (Spencer,
Valeria) (Entered: 08/27/2018)

MINUTE ORDER granting 136 Motion for Extension of Time to File as to Shawn
Shields (1). Defendant's sentencing motions are due by 8/29/2018 at 12:00 p.m. (noon);
and government's responses are due by 9/4/2018 at 12:00 p.m. (noon). By Judge Robert
E. Blackburn on 8/27/18. Text Only Entry (rebsec) (Entered: 08/27/2018)

SENTENCING STATEMENT by Shawn Shields (Hutt, Abraham) (Entered: 08/29/2018)

COURTROOM MINUTES for Sentencing Hearing as to Shawn Shields held before
Judge Robert E. Blackburn on 9/5/2018. Defendant sentenced as reflected on the record.
Court Reporter: Tracy Weir. (lrobe) Modified on 9/7/2018 to correct date of entry (jdyne,
). (Entered: 09/06/2018)

09/06/2018 — [143]] NOTICE OF APPEAL by Shawn Shields. (Hutt, Abraham) (Entered: 09/06/2018)

09/06/2018 MOTION for Leave to Appeal In Forma Pauperis by Shawn Shields. (Attachments: # 1
Affidavit)(Hutt, Abraham) (Entered: 09/06/2018)

LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of the
143 Notice of Appeal as to Shawn Shields to the U.S. Court of Appeals. (CJA, 1915
motion filed,) (Attachments: # ] Docket Sheet, # 2 Preliminary Record) (athom, )
(Entered: 09/07/2018)

USCA Case Number 18-1364 as to Shawn Shields for 143 Notice of Appeal filed by
Shawn Shields. (athom, ) (Entered: 09/07/2018)

09/10/2018 147 | JUDGMENT as to defendant Shawn Shields. Count 1: Imprisonment: 37 months.
Supervised release: three years, to be served consecutively to any present state or federal
sentence. Special assessment: $100. By Judge Robert E. Blackburn on 9/10/2018. (lrobe)
(Entered: 09/10/2018)

09/10/2018 148 | STATEMENT OF REASONS as to Shawn Shields. (Irobe) (Entered: 09/10/201 8)

09/10/2018 149 | ORDER as to Shawn Shields re 143 Notice of Appeal. Mr. Shield's Motion to Proceed on
Appeal Without Payment of Fees or Costs [ # 144 ] is granted. By Judge Robert E.
Blackburn on 09/10/2018. (athom, ) (Entered: 09/10/2018)

09/21/2018 150 | DESIGNATION OF RECORD ON APPEAL re 143 Notice of Appeal by Shawn Shields.
(Attachments: # 1 Docket Sheet)(Hutt, Abraham) (Entered: 09/21/2018)

09/27/2018 151 | TRANSCRIPT ORDER FORM re 143 Notice of Appeal by Shawn Shields. (Hutt,
Abraham) (Entered: 09/27/2018)

09/28/2018 152 | ORDER of USCA granting attorney Abraham V. Hutt's motion to withdraw as attorney
and appointing attorney Deborah Lynn Roden as counsel for appellant Shawn Shields re
143 Notice of Appeal. Supplemental transcript order form and designation of record, if
warranted, due 10/18/2018 for Shawn Shields (USCA Case No. 18-1364) (athom, )
(Entered: 09/28/2018)

 

 

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